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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 23-cr-2368-AdB

Plaintiff,
Vv. PLEA AGREEMENT

Sean Stevenson,

Defendant.

TT IS HEREBY AGREED between the plaintiff, UNITED STATES OF
AMERICA, through its counsel, Tara K. McGrath, United States Attorney,
and Derek Ko and Andrew Sherwood, Assistant United States Attorneys,
and Defendant Sean Stevenson, with the advice and consent of Dana
Grimes and Jay Temple, counsels for Defendant, as follows:
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I
THE PLEA
A. THE CHARGE
Defendant agrees to plead guilty to Count 1 of the Indictment,

which charges Defendant with:

Count 1
On or between April 9, 2023 and continuing
through on or about October 24, 2023, within the

Southern District of California and elsewhere,
defendant Sean Stevenson, using any facility and
Means of interstate and foreign commerce,
including cellular telephones and the internet,
did knowingly attempt to persuade, induce,
entice, and coerce an individual whom he believed
was under the age of 18 to engage in any unlawful

sexual activity for

which a person could be

charged with a criminal offense;

in violation of

Title 18, United States Code, Section 2422(b).

Defendant consents to the forfeiture allegations of the
Indictment. Forfeiture is more fully described in the Forfeiture
Addendum.

Bi: DISMISSAL OF REMAINING COUNT

The Government agrees to (1) move to dismiss the remaining count

without prejudice when Defendant is sentenced, and (2) not prosecute

Defendant thereafter on such dismissed charge unless Defendant breaches
the plea agreement or the guilty plea entered pursuant to this plea

agreement is set aside for any reason. If Defendant breaches this

agreement or the guilty plea is set aside, section XII below shall

apply.
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NATURE OF THE OFFENSE

A. ELEMENTS EXPLAINED

The offense to which Defendant is pleading guilty has the
following elements:
dis First, Defendant used a means or facility of interstate or

foreign commerce to knowingly induce and entice an individual

to engage in prostitution;

2, Second, Defendant believed that the individual was under the
age of 18;

3 Third, that if the sexual activity had occurred, any person

could have been charged with a criminal offense under the
laws of the State of California. In California, it is a
criminal offense to entice a person under 18 years of age

into a house of ill fame, or of assignation, or elsewhere,

for the purpose of prostitution.
4, Fourth, Defendant did something that was a substantial step
toward committing the crime.
Forfeiture
As to the forfeiture, Defendant understands the Government would
have to prove by a preponderance of the evidence that the property(ies)
it seeks to forfeit are property, real or personal, used or intended
to be used to commit or to facilitate the commission of the offense;
and/or are property, real or personal, constituting or derived from,
any proceeds obtained, directly or indirectly, as a result of the
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Bis ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

Defendant has fully discussed the facts of this case with defense
counsel. Defendant has committed each element of the crime and admits
that there is a factual basis for this guilty plea. The following facts
are true and undisputed:

Lis Between April 9, 2023 through April 16, 2023, Defendant used

a voice over internet (VOIP) line ending in x*9414 to

negotiate by text message for commercial sex with an

individual that went by the name of Kash and who represented

to Defendant that she was 20 years old. From April 15, 2023

through April 16, 2023, Defendant offered Kash a fee to find

a female under the age of 18 for Defendant. In pertinent

part, Defendant stated to Kash the following:

a. “And I don't suppose you know in[sic] younger girls I could
pay ua premium for?”

b. “I pay ua finders fee and I pay her”

c. “The younger the better.”

d. “Just keep it in mind if you come across any high school

age girls”

e. “Not young enough” (in response to Kash suggesting an 18
year old}.
Pea Between October 2, 2023 and October 24, 2023, Defendant

continued to use the x9414 voice over internet (VOIP) line

to negotiate by text message for commercial sex with an

undercover officer (UC) whom Defendant believed to be Kash.

a. On October 2, 2023, Defendant responded “On shit, yes!”
when the Uc stated that a 16 year old cousin was available
for commercial sex with Defendant.

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b. Defendant continued to exchange messages with the UC

during which Defendant negotiated for the following:
1. $150 for a “bbbj” (bareback blow job, or oral

copulation without a condom)

ii. $100 for a hand job {manual genital stimulation)

iii. A “car date” (a commercial sex encounter that occurs
inside a vehicle)

iv. The exchange continued on October 4, 2023 with
Defendant stating “Ok. Well I’m interested in her for

sure!”

- On October 17, 2023, Defendant messaged the UC “Do you

still have a younger girl?” and again negotiated the

exchange of $150 for “bbbj” with the 16 year old cousin.

. On October 23, 2023, Defendant re-engaged with the UC and

confirmed that Defendant still wanted to meet with the 16
year old cousin for a commercial sex date. In pertinent
part, Defendant stated the following to the UC:
i. “Ok, and $150 for a cardate bbb}. No condom.”
ii. “Also, can you send a pic of your cousin please?”
{lips emoji)

iii, “G@exy pie”

. On October 24, 2023, Defendant exchanged messages with the

UC to meet for the commercial sex date with the 16 year
old cousin. The UC provided the address of 5380 El Cajon
Blvd, San Diego CA to which Defendant asked “what is she
wearing?” (in reference to the 16 year old cousin).
Defendant also renegotiated the commercial sex date to be

$140 for oral sex. On October 24, 2023, at approxithately

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4,
x9414 constituted means or facilities of interstat

foreign commerce.

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7:00 a.m., Defendant arrived at the location. Defendant
drove to a parking lot where Defendant had a full
unobstructed view of the meeting location. Defendant then
drove laps near an apartment complex behind the location
from where the UC told Defendant that the 16 year old
cousin would be arriving. Defendant was stopped and placed
under arrest. During the arrest, $140 was located in the
driver’s side door storage area of Defendant's Mazda
Miata; and a black Samsung smart phone was located
underneath the driver's seat. When investigators called
the x9414 number, the black Samsung smartphone began to
ring. The incoming phone number that came up on the black
Samsung smartphone’s screen was the one associated with

the UC account.

Defendant's residence was subsequently searched.

[Lines 16-25 intentionally left blank.] Y
. *

Tne black Samsung smartphone and the VOIP line ending in

DK
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The
following

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PENALTIES
crime to which Defendant is pleading guilty carries the
maximum penalties:
A mandatory minimum of 10 years in prison and a maximum of
life in prison;
a maximum $250,000 fine;
a mandatory special assessment of $100;
an additional mandatory special assessment of $5,000 in
accordance with 18 U.S.C. § 3014, unless the Court finds
defendant to be indigent;
a term of supervised release of not less than 5 years and up
to life. Defendant understands that failure to comply with
any of the conditions of supervised release may result in
revocation of supervised release, requiring defendant to
serve in prison, upon any such revocation, all or part of
the statutory maximum term of supervised release for the
offense that resulted in such term of supervised release;
Mandatory Restitution under 18 U.S.C. § 2429;
Forfeiture of all property real and personal, used or
intended to be used to commit or to Facilitate the commission
of the offense; and any property, real or personal,
constituting or derived from, any proceeds obtained, directly
or indirectly, as a result of the offense; and
Registration as a sex offender under tne Sex Offender

Registration and Netification Act.*

Defendant understands that by pleading guilty defendant may become

ineligible for certain federal benefits.

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*Defendant further understands, acknowledges and agrees to the
Following concerning his sex offender registration: I am required to
register and keep my registration current in each of the following
jurisdictions: where I reside; where I am an employee; and where I am
a student. I understand that the requirements for registration include
providing my name, my residence address, and the names and addresses
of any places where I am or will be an employee or a student, among
other information. I further understand that the requirement to keep
the registration current including informing at least one jurisdiction
in which I reside, am an employee, or am a student not later than three
business days after any change of my name, residence, employment, or
student status. I have been advised, and understand, that failure to
comply with these obligations subjects me to prosecution for failure
to register under federal law, 18 U.S.C. § 2250, which is punishable
by fine or imprisonment, or both.

Iv

DEFENDANT’S WAIVER OF TRIAL RIGHTS AND
UNDERSTANDING OF CONSEQUENCES

This guilty plea waives Defendant’s right at trial to:
A. Continue to plead not guilty and require the Government to

prove the elements of the crime beyond a reasonable doubt;

B. A speedy and public trial by jury;

Ci The assistance of counsel at all stages;

D.. Confront and cross-examine adverse witnesses;

E. Testify and present evidence and to have witnesses testify

on behalf of Defendant; and,
Be Not testify or have any adverse inferences drawn from the
failure to testify.
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Vv

DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION

Any information establishing the factual innocence of Defendant
known to the undersigned prosecutor in this case has been turned over
to Defendant. The Government will continue to provide such information
establishing the factual innocence of Defendant.

If this case proceeded to trial, the Government would be required
to provide impeachment information for its witnesses. In addition, if
Defendant raised an affirmative defense, the Government would be
required to provide information in its possession that supports such a
defense. By pleading guilty Defendant will not be provided this
information, if any, and Defendant waives any right to this
information. Defendant will not attempt to withdraw the guilty plea or

to file a collateral attack based on the existence of this information.
VI

DEFENDANT’S REPRESENTATION THAT GUILTY
PLEA IS KNOWING AND VOLUNTARY

Defendant represents that:

A. Defendant has had a full opportunity to discuss all the facts
and circumstances of this case with defense counsel and has
a clear understanding of the charges and the consequences of
this plea. By pleading guilty, Defendant may be giving up,
and rendered ineligible to receive, valuable government
benefits and civic rights, such as the right to vote, the
right to possess a firearm, the right to held office, and
the right to serve on a jury. The conviction in this case
may subject Defendant to various collateral consequences,
including but not limited to revocation of probation, parole,
or supervised release in another case; debarment from
government contracting; and suspension or revocation of a
professional license, none of which can serve as grounds to
withdraw Defendant’s guilty plea.

B. No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this
agreement or otherwise disclosed to the Court.

No one has threatened Defendant or Defendant's fami
induce this guilty plea.

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D. Defendant is pleading guilty because Defendant is guilty and
for no other reason.

VII

AGREEMENT LIMITED TO U.S. ATTORNEY’S OFFICE, SOUTHERN DISTRICT OF
CALIFORNIA

This plea agreement is limited to the United States Attorney’s
Office for the Southern District of California, and cannot bind any
other authorities in any type of matter, although the Government will
bring this plea agreement to the attention of other authorities if
requested by Defendant.

VIII

APPLICABILITY OF SENTENCING GUIDELINES

The sentence imposed will be based on the factors set forth in 18
U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must
consult the United States Sentencing Guidelines (Guidelines) and take
them into account. Defendant nas discussed the Guidelines with defense
counsel and understands that the Guidelines are only advisory, not
mandatory. The Court may impose a sentence more severe or less severe
than otherwise applicable under the Guidelines, up to the maximum in
the statute of conviction. Defendant agrees to request that the Court
order a presentence report. The sentence cannot be determined until a
presentence report is prepared by the U.S. Probation Office and defense
counsel and the Government have an opportunity to review and challenge
the presentence report. Nothing in this plea agreement limits the
Government’s duty to provide complete and accurate facts to the
district court and the U.S. Probation Office.
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IX

SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

This plea agreement is made pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B). The sentence is within the sole discretion of
the sentencing judge who may impose the maximum sentence provided by
statute. It is uncertain at this time what Defendant’s sentence will
be. The Government has not made and will not make any representation
about what sentence Defendant will receive. Any estimate of the
probable sentence by defense counsel is not a promise and is not binding
on the Court. Any recommendation by the Government at sentencing also
is not binding on the Court. If the sentencing judge does not follow
any of the parties’ sentencing recommendations, Defendant will not
withdraw the plea.

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PARTIES’ SENTENCING RECOMMENDATIONS

A. SENTENCING GUIDELINE CALCULATIONS

Although the Guidelines are only advisory and just one factor the
Court will consider under 18 U.S.C. § 3553{(a) in imposing a sentence,
the parties will jointly recommend the following Base Offense Level,

Specific Offense Characteristics, Adjustments, and Departures:

‘Less Base Offense Level [§ 2G1.3(a) (3) ] 23
Dive Acceptance of Responsibility [§$ 381.1] 3
B. ACCEPTANCE OF RESPONSIBILITY

Despite paragraph A above, the Government need not recommend an
adjustment for Acceptance of Responsibility if Defendant engages in
conduct inconsistent with acceptance of responsibility including, but

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not limited to, the following:

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Les Fails to truthfully admit a complete factual basis as
stated in the plea at the time the plea is entered, or
falsely denies, or makes a statement inconsistent with,
the factual basis set forth in this agreement;

a Falsely denies prior criminal conduct or convictions;

3. Is untruthful with the Government, the Court or
probation officer; or

4. Breaches this plea agreement in any way.

ey FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING THOSE

UNDER 18 U.S.C. § 3553

The parties may request or recommend additional downward
adjustments, departures, or variances from the Sentencing Guidelines
under 18 U.S.C. § 3553. The Government may oppose any downward
adjustments, departures, or variances not set forth in Section X,
paragraph A above.

D. NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

The parties have no agreement as to Defendant’s Criminal History
Category.

Bite “PACTUAL BASIS” AND “RELEVANT CONDUCT” INFORMATION

The facts in the “factual basis” paragraph of this agreement are
true and may be considered as “relevant conduct” under USSG § 1B1.3
and as the nature and circumstances of the offense under 18 U.S.C.
§ 3553(a) (1).

Bs United States’s RECOMMENDATION REGARDING CUSTODY

The United States will recommend that Defendant be sentenced to
120 months in custody.
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G. SPECIAL ASSESSMENT/FINE/RESTITUTION

1s Special Assessment

The parties will jointly recommend that Defendant pay a special
assessment in the amount of $100.00 per felony count of conviction to
be paid forthwith at time of sentencing.

In addition, unless the sentencing court finds the Defendant to
be indigent, the parties also will jointly recommend that Defendant
pay an additional special assessment in the amount of $5,000 per count
of qualifying conviction, which shall not be payable until Defendant
satisfies all outstanding fines, orders of restitution, and any other
obligation in this case related to victim-compensation. The Special
assessments shall be paid througn the office of the Clerk of the
District Court by bank or cashier’s check or money order made payable
to the “Clerk, United States District Court.”

Don Fine/Restitution

The parties will not recommend imposition of a fine due to
Defendant’s limited financial prospects and because the cost of
collection, even taking into account the Inmate Responsibility Program,
likely would exceed the amounts that could reasonably be expected to
be collected. However, the Government reserves the right to seek
restitution on behalf of any victim under 18 U.S.C. § 2428. Defendant
agrees that if restitution is ordered by the Court under 18 U.S.C. §
2428, the amount of restitution ordered by the Court shall include
Defendant's total offense conduct, and is not Limited to the count of
conviction. Defendant agrees and understands that any payment schedule
imposed by the Court is without prejudice to the United States to take

all actions and take all remedies available to it to collect the full

amount of the restitution.

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H. SUPERVISED RELEASE

If the Court imposes a term of supervised release, Defendant will
not seek to reduce or terminate early the term of supervised release
without the express written consent of the Government and has fully
paid and satisfied any special assessments, fine, criminal forfeiture
judgment, and restitution judgment.

XI

DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

Defendant waives (gives up) all rights to appeal and to
collaterally attack every aspect of the conviction and sentence,
including any forfeiture or restitution order. This waiver includes,
but is not limited to, any argument that the statute of conviction or
Defendant’s prosecution is unconstitutional and any argument that the
facts of this case do not constitute the crime charged. The only
exception is defendant may collaterally attack the conviction or
sentence on the basis that defendant received ineffective assistance
of counsel. If defendant appeals, the Government may support on appeal
the sentence or restitution order actually imposed.

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BREACH OF THE PLEA AGREEMENT

Defendant and Defendant's attorney know the terms of this
agreement and shall raise, before the sentencing hearing is complete,
any claim that the Government has not complied with this agreement.
Otherwise, such claims shall be deemed waived (that is, deliberately
not raised despite awareness that the claim could be raised), cannot
later be made to any court, and if later made to a court, shall

constitute a breach of this agreement.

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Defendant acknowledges, understands and agrees that if Defendant
violates or fails to perform any of Defendant's obligations under this
agreement, such violation or failure to perform may constitute a
material breach of this agreement. The following are non-exhaustive
examples of acts constituting a breach:

1. Failing to plead guilty pursuant to this agreement;
Zs Failing to fully accept responsibility as established

in Section X, paragraph B, above;

3. Failing to appear in court;

4, Attempting to withdraw the plea;

5. Failing to abide by any court order related to this
case;

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Appealing (which occurs if a notice of appeal is filed)
or collaterally attacking the conviction or sentence in
violation of Section XI of this plea agreement; or
7, Engaging in additional criminal conduct from the time
of arrest until the time of seantencing.

If Defendant breaches this plea agreement, Defendant will not be
able to enforce any provisions, and the Government will be relieved of
all its obligations under this plea agreement. For example, the
Government may proceed to sentencing but recommend a different sentence
than what it agreed to recommend above. Or the Government may pursue
any charges including those that were dismissed, promised to be
dismissed, or not filed as a result of this agreement (Defendant agrees
that any statute of limitations relating to such charges is tolled
indefinitely as of the date all parties have signed this agreement;
Defendant also waives any double jeopardy defense to such charges. In
addition, the Government may move to set aside Defendant’s guilty|Mlea.

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Defendant may not withdraw the guilty plea based on the Government’s
pursuit of remedies for Defendant's breach.

Additionally, if Defendant breaches this plea agreement: (i) any
statements made by Defendant, under oath, at the guilty plea hearing
(before either a Magistrate Judge or a District Judge); (ii) the factual
basis statement in Section II.B in this agreement; and (iii) any
evidence derived from such statements, are admissible against Defendant
in any prosecution of, or any action against, Defendant. This includes
the prosecution of the charges that are the subject of this plea
agreement or any charges that the prosecution agreed to dismiss or not
File as part of this agreement, but later pursues because of a breach
by the Defendant. Additionally, Defendant knowingly, voluntarily, and
intelligently waives any argument that the statements and any evidence
derived from the statements should be suppressed, cannot be used by
the Government, or are inadmissible under the United States
Constitution, any statute, Rule 410 of the Federal Rules of Evidence,
Rule 11(f£) of the Federal Rules of Criminal Procedure, and any other
federal rule.

XIII

CONTENTS AND MODIFICATION OF AGREEMENT

This plea agreement embodies the entire agreement between the
parties and supersedes any other agreement, written or oral. No
modification of this plea agreement shall be effective unless in
writing signed by all parties.

XIV

DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

By signing this agreement, Defendant certifies that Defendank nas

read it (or that it has been read to Defendant in Defendant’s npjtive

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language). Defendant has discussed the terms of this agreement with
defense counsel and fully understands its meaning and effect.
xV

DEFENDANT SATISFIED WITH COUNSEL

Defendant has consulted with counsel and is satisfied with
counsel’s representation. This is Defendant’s independent opinion, and
Defendant's counsel did not advise Defendant about what to say in this

regard.

TARA K. MCGRATH
United States Attorney

May 20, 2024 Pay ky

DATED DEREK KO
ANDREW SHERWCOD
Assistant U.S. Attorneys

5/11/2024 peri Atend
DATED — , Dasa GRIMES

JAY TEMPLE
Defense Counsel

IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER

PENALTY OF PERJURY THAT THE FACTS IN T “FACTUAL BASIS” SECTION ABOVE
ARE TRUE.

S/ ij 2624
DATED A STEVENSON

Defendant

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